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                    Andrew Sinclair / B4B Earth Tea LLC
                             9703 Sutphin Blvd Unit 350008, Jamaica NY 11435
                                            Tell: 718-635-2135
                                      email: asinclairhg@gmail.com

          October 31, 2024



          Honorable Robert M. Levy

          United States Magistrate Judge
          Eastern District of New York
          225 Cadman Plaza East
          Brooklyn, NY 11201


                       Re: United States v. B4B Earth Tea LLC, et al. No. 22-CV-1159


         Dear Honorable Judge Robert M. Levy,

         Defendant Request for additional time to Submit Scientific Research Report.

         On 8/27/2024 which was six days after my request for time was approved I received an
         email from Sonoran University of Health (ASU), stating that the date that was confirmed
         would have to be changed to Oct 1, 2024.(please see exhibit E1)

         I must say that before Signing the Agreement I was told that the date in September was
         confirmed and that’s when I requested Oct 31, 2024 in my previous letter.

         I was offered to do an immune system study instead and I agreed to do so. The immunity
         study was scheduled to begin around the week of Sep 17, 2024, but as time went by and
         my deposit was sent in the communications started deteriorating, for example I would
         wait 2-3 days for a response vs within hours from when we initially started
         communicating. At the time when I was told to ship my sample I was told that someone
         would be there to accept the shipment but when my overnight shipment arrived at the
         destination they were closed and no one was there to accept it.

         As the deadline approaches and communications got worst, I decided to start looking for
         an alternative option, because it reminded me of recent experiences with other
         companies who either had conflict of interest, blackballed me or who was contacted by
         the plaintiff.

         After I started reaching out, I received two responses (please see exhibit E2-A and exhibit
         E2-B) I decided to go with exhibit E2-A because the process was simple and the turn
         around time was faster. This was September 27, 2024.

         This biotech lab offered covid19 research materials therefore their timing was faster and
         everything was done in house which would allow me to make the deadline. As we started
         putting the study in place there was a slight delay because they have never tried a natural
         product before. On 0ct 22, 2024 we finally started with an estimated completion date of
         Oct 25, 2024. (Please see Exhibit-E3) That was still enough time to create the report
         therefore there was no need to request additional time. On October 25, 2024 I received
         the report but there was some system errors. (please see Exhibit Report / received report
         documentation ).
     The biotech lab then suggested the use of a di erent method that should resolve the
     errors and give more details, this study will take up to two weeks. So far they are the only
     USA lab that actual went ahead and did some tests with my product. Even through
     there’s questions to why the covid samples are “undetermined” I appreciate that they
     o ered a better option for the study. This letter was delayed until today because I was
     trying to get a date when they would be able to do the o ered option. After an internal
     meeting I was told they had nalized a plan to redo the study. (Please see Exhibit-E4)

     I am requesting 21- 30 days more to submit my o cial research results since the
     estimated time is two weeks if my study is done before the requested days, I will submit it
     to the court. If this request is denied I would request a trial and object to any summary
     judgment request by the plainti .

     I redacted the information to prevent the plainti s from trying to sabotage my research.




                                                                         Respectfully submitted
                                                                           /s/ Andrew Sinclair
                                                                                Andrew Sinclair
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